            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:15 cr 85-4


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                      ORDER
                                       )
ANNA MARIE POSTELL COCHRAN.            )
                                       )
           Defendant.                  )
______________________________________ )


      THIS MATTER is before the undersigned upon an Application for Motion

Granting Writ of Habeas Corpus Ad Testifcandum (#465) filed by Rich Cassady,

Attorney for Defendant. It appears to the undersigned that good cause has been

shown for the granting of the motion, and the motion will be allowed.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the Application for Motion Granting

Writ of Habeas Corpus Ad Testifcandum (#465) is ALLOWED and the undersigned

shall issue a Writ of Habeas Corpus Ad Testifcandum consistent with the

Application.

                                 Signed: September 30, 2016




                                          1



   Case 1:15-cr-00085-MR-WCM       Document 469          Filed 09/30/16   Page 1 of 1
